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                       EXHIBIT A
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                                                 U.S. Department of Justice
                                                 United States Attorney
                                                 Southern District of Ohio
                                                 221 East Fourth Street   Telephone: 513-684-3711
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                                                 Cincinnati, Ohio 45202


                                                 September 1, 2022



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       Re: United States v. Larry Householder et al, Case No. 1:20-CR-00077-TSB

Dear Counsel,

        Pursuant to the Court’s Order and Rule 16 of the Federal Rules of Criminal Procedure, the
government is providing the enclosed expert witness disclosures for its case-in-chief at trial. Not
all of the attached information necessarily constitutes “expert” testimony or requires disclosure
pursuant to Federal Rule of Evidence 702; however, the disclosures are being included out of an
abundance of caution. Through this letter and the Court’s Order, the United States requests
reciprocal discovery of defense experts, including discovery related to defense “rebuttal” experts.

       Please be advised that the United States may call expert rebuttal witness(s) depending upon
your expert disclosures and arguments/evidence at trial. Please contact us should you have any
questions.
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                                           Very truly yours,

                                           KENNETH L. PARKER
                                           United States Attorney

                                           /s/ Emily N. Glatfelter
                                           EMILY N. GLATFELTER
                                           MATTHEW C. SINGER
                                           Assistant United States Attorneys




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                          Government Expert Witness Disclosure
                         United States v. Larry Householder et al.,
                              Case No. 1:20-CR-00077-TSB

 1. Noah Dormady
       a. A written summary of Dr. Dormady’s qualifications, opinions for this case, and
          the bases and reasons for the opinions is enclosed.

 2. Abby Wood
      a. A written summary of Dr. Wood’s qualifications, opinions for this case, and the
         bases and reasons for the opinions is enclosed.

 3. Josh Altic
       a. A written summary of Mr. Altic’s qualifications, opinions for this case, and the
          bases and reasons for the opinions is enclosed.

 4. Charles Walker
      a. A written summary of Mr. Walker’s qualifications, opinions for this case, and the
          bases and reasons for the opinions is enclosed.

 5. Toby Stock
       a. A written summary of Prof. Stock’s qualifications, opinions for this case, and the
          bases and reasons for the opinions is enclosed.

 6. FBI computer forensic witness/FBI technician
       a. As noted in our initial disclosure, dated July 22, 2022, depending upon
          stipulations, designated FBI employee(s) or contractor(s) will testify as to the
          forensic exploitation and handling of electronic evidence in this case, including
          for example the examination of laptops, phones, digital media devices, iCloud
          accounts, and email accounts relevant to the case. Similarly, to the extent
          necessary, FBI employee(s) or contractor(s) will testify about how data is
          obtained from and the data obtained from pen registers, cellular telephone
          records, search warrants for electronic evidence, and Title IIIs.

 7. Factual witnesses providing background information
       a. In addition, as noted in our initial disclosure letter to you, dated July 22, 2022, it
          is possible that a fact witness might provide background information about the
          functioning or processes of a government agency and the Ohio House of
          Representations. For example, a current or former member of the Ohio House of
          Representatives with relevant factual testimony about H.B. 6, also may testify
          about the operation of the Ohio House of Representatives during the course of
          his/her testimony. Accordingly, to the extent appropriate, the United States will
          request both Sixth Circuit Pattern Instructions 7.03 (opinion testimony) and 7.03A
          (witness testifying to both facts and opinions).




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